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 2                                 UNITED STATES DISTRICT COURT
 3                             NORTHERN DISTRICT OF CALIFORNIA
 4
      IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
 5                                                       Case No. 3:16-md-02741-VC
      LIABILITY LITIGATION
 6

 7    This document relates to:
                                                         [Proposed] Order Dismissing Case Without
 8    Richard L. Bailey, et al. v. Monsanto              Prejudice
      Company, et al.,
 9

10    Case No. 3:18-cv-05827-VC

11
            Pursuant to the parties’ November 12, 2018 Stipulation of Voluntary Dismissal Without
12
     Prejudice, this lawsuit is dismissed without prejudice, with the parties bearing their own costs.
13
     The Clerk of Court will close this case.
14

15
     SO ORDERED
16

17    November 13
     ____________________, 2018
18                                                 Hon. Vince Chhabria
                                                   United States District Court Judge
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                       [PROPOSED] ORDER DISMISSING CASE WITHOUT PREJUDICE
28                                3:16-md-02741-VC & 3:18-cv-05827-VC
